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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

SAMANTHA PITTS,                   )
                                  )
                Plaintiff,        )
                                  ) Case No. 2:21-cv-02513-EFM-GEB
      vs.                         )
                                  ) NOTICE OF SETTLEMENT
FIFTH THIRD BANK, NATIONAL        )
ASSOCIATION, PRIMERITUS           )
FINANCIAL SERVICES, INC., AND JHG )
MID-AMERICAN SERVICES, INC. DBA )
AMERICAN COLLATERAL RECOVERY )
OF KANSAS CITY,                   )

                       Defendants.

       Notice is hereby given that the parties have reached a settlement in this case. Plaintiff

respectfully requests that this Court allow sixty (60) days within which to complete the

settlement, during which time Plaintiff requests the Court to retain jurisdiction over this matter

until fully resolved and final dismissal paperwork may be filed.


Dated: February 8, 2022
                                                      Respectfully submitted,

                                                      /s/ Anthony LaCroix
                                                      Anthony LaCroix
                                                      KS Bar No. 24279
                                                      1600 Genessee, Ste. 956
                                                      Kansas City MO 64102
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                                                      Lead Counsel for Plaintiff

                                            Co-counsel with Thompson Consumer Law Group

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                                                      Thompson Consumer Law Group, PC

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                                               11445 E Via Linda, Ste 2 #492
                                               Scottsdale, AZ 85259




                          CERTIFICATE OF SERVICE


     I certify that on February 8, 2022, I filed the foregoing document with the Court

using CM/ECF.


                                               /s/ Anthony LaCroix
                                               Anthony LaCroix




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